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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


MARK MEADOWS,

              Plaintiff,

      v.                                              Civil Action No. 1:21-cv-03217 (CJN)

NANCY PELOSI, et al.,

              Defendants.


                                            ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is ORDERED that

the case is DISMISSED without prejudice.

       This is a final appealable order.

       The Clerk is directed to terminate the case.


DATE: October 31, 2022
                                                            CARL J. NICHOLS
                                                            United States District Judge
